       Case 1:10-cv-01752-YK Document 6 Filed 10/26/10 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA

___________________________________
JUDY CURLEE                         )
                                    )                Case Number: 1:10-cv-1752
                                    )
            Plaintiff               )
                                    )
            vs.                     )
                                    )
CAVALRY PORTFOLIO SERVICES,         )
LLC                                 )
            Defendant               )
___________________________________ )


                               NOTICE OF DISMISSAL


       PLEASE TAKE NOTICE that plaintiff, Judy Curlee, pursuant to Rule 41(a)(1)(i)

of the Rules of the United States District Court, hereby dismisses the action captioned

above, with prejudice.




                              BY:_/s/ Brent F. Vullings
                                     Brent F. Vullings,Esquire
                                     Attorney for Plaintiff
                                     Attorney I.D. #92344
                                     Warren & Vullings, LLP
                                     1603 Rhawn Street
                                     Philadelphia, PA 19111
                                     215-745-9800
